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            U.S. COURT OF APPEALS FOR THE ELEVENTH CIRCUIT


                     CERTIFICATE OE INTERESTED PERSONS
               AND CORPORATE DISCLOSURE STATEMENT(CIP)


    T-AVAtA                   vs.                               Appeal No. 2\^ICA^|-TT
11th Cir. R. 26.1-l(a) requires the appellant or petitioner to file a Certificate of Interested
Persons and Corporate Disclosure Statement(CIP) with this court within 14 days after
the date the case or appeal is docketed in this court, and to include a CIP within every
motion, petition, brief, answer, response, and reply filed. Also, all appellees, interveners,
respondents, and all other parties to the case or appeal must file a CIP within 28 days
after the date the case or appeal is docketed in this court. You may use this form to
fulfill these requirements. In alphabetical order, with one name per line, please list all
trial judges, attorneys, persons, associations of persons, firms, partnerships, or
corporations that have an interest in the outcome of this case or appeal, including
subsidiaries, conglomerates, affiliates, parent corporations, any publicly held corporation
that owns 10% or more of the party’s stock, and other identifiable legal entities related to
a party.

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